     Case 5:22-cv-05051-PKH Document 2        Filed 03/21/22 Page 1 of 12 PageID #: 4




        United States District Court for the Western District of Arkansas
                               Fayetteville Division

Sarah Campau                                                                 Plaintiff

v.                                 Case No. _____________

Michael A. Sweetser Trust No. II,
The Sweetser Family, LP,
and Bert Morris                                                              Defendants

                                       Complaint

         Plaintiff, Sarah Campau (“Ms. Campau”), for her Complaint against Defendants

(collectively “Defendants”), Michael A. Sweetser Trust No. II (“Sweetser Trust”), The

Sweetser Family LP, and Bert Morris (“Ms. Morris”), states the following:

                                Jurisdiction and Venue

        1.     This Court has subject matter jurisdiction over Ms. Campau’s claims

because they raise questions of federal law under the Fair Housing Act. 28 U.S.C. § 1331.

        2.     This Court has supplemental jurisdiction over Ms. Campau’s state law

claims because they form part of the same case or controversy under Article III of the

United States Constitution. 28 U.S.C. § 1367(a).

        3.     Ms. Morris resides in the State of Arkansas. 28 U.S.C. § 1391(b)(1). The

Sweetser Trust is established in Arkansas, and Sweetser Family LP is incorporated in

Arkansas.

        4.     The events giving rise to this Complaint occurred in Fayetteville, Arkansas

and the rental property is located there. 28 U.S.C. § 1391(b)(2). Thus, venue is proper in

the Fayetteville Division of the United States District Court for the Western District.
  Case 5:22-cv-05051-PKH Document 2          Filed 03/21/22 Page 2 of 12 PageID #: 5




                                          Facts

          5.    Ms. Campau is a woman who identifies as “queer” sexual orientation.

          6.    Ms. Campau resided in a dwelling located at 641 North Whitham,

Fayetteville, Arkansas (the “dwelling”), from August 1, 2020, to October 16, 2021.

          7.    The Sweetser Trust owns the dwelling.

          8.    The Sweetser Family LP manages the dwelling.

          9.    Ms. Morris is a managing agent for the dwelling and is an employee of

Sweetser Family LP.

          10.   During the summer of 2021, Ms. Campau begin displaying an LGBTQ

Pride flag at the dwelling.

          11.   The Pride flag is directly related to Ms. Campau’s protected class and

identification as “queer.”

          12.   On or about September 15, 2021, Defendants issued a written notice to

Ms. Campau to remove the Pride flag.

          13.   On or about September 15, 2021, Ms. Morris verbally instructed Ms.

Campau to remove the Pride flag.

          14.   On or about September 15, 2021, Ms. Morris told Ms. Campau that if she

did not immediately remove the Pride flag, they would file an eviction against her and

stated that an eviction on her record would make finding housing more difficult in the

future.

          15.   On or about September 15, 2021, Ms. Morris told Ms. Campau that she

would be beautiful if she was not so angry, that her Pride flag was controversial, and that

the neighbors needed to be protected from the Pride flag.



                                            2
  Case 5:22-cv-05051-PKH Document 2              Filed 03/21/22 Page 3 of 12 PageID #: 6




       16.        Because she wanted to avoid the consequences of an eviction lawsuit, Ms.

Campau provided 30 days’ notice and vacated her apartment on October 15, 2021.

       17.        Other tenants displayed flags unrelated to Ms. Campau’s protected class

at properties owned and managed by Sweetser Trust and Sweetser Family LP, without

adverse action.

       18.        On October 5, 2021, Ms. Campau filed a Complaint with the Arkansas Fair

Housing Commission (“the Commission”).

       19.        The Commission investigated the complaint. On January 3, 2022, the

Commission issued a determination that reasonable cause existed that the Defendants

discriminated against Ms. Campau and issued a Charge of Discrimination against the

Defendants, attached hereto as Exhibit 1 and incorporated by reference as if laid out word

for word.

             Count I: Violations of the Federal Fair Housing Act of 1968,
                                   42 U.S.C. § 3604.
               Terms and Conditions and Discriminatory Statements

       20.      Plaintiff re-alleges paragraphs 1-19 as if fully set forth herein.

       21.      By requiring Plaintiff to remove her Pride flag related to her protected class

but not requiring the removal of other flags, Defendants subjected Ms. Campau to

discriminatory terms and conditions of rental based on sex. 42 U.S.C. § 3604(b) prevents

discrimination “against any person in the terms, conditions, or privileges of sale or rental

of a dwelling, or in the provision of services or facilities in connection therewith, because

of race, color, religion, sex, familial status, or national origin.”

       22.      By telling Plaintiff that she would be beautiful if she was not so angry and

that her neighbors needed to be protected from her pride flag and by threatening her with

eviction, Defendants subjected Ms. Campau to discriminatory statements based on her

                                                3
  Case 5:22-cv-05051-PKH Document 2               Filed 03/21/22 Page 4 of 12 PageID #: 7




sex. 42 U.S.C. § 3604(c) bans discriminatory statements with respect to the rental of a

dwelling that indicates any discrimination based on race, color, religion, sex, handicap,

familial status, or national origin.

         23.   As a result of Defendant’s discriminatory housing practices, Ms. Campau

incurred actual and economic damages from Defendants, including but not limited to

moving expenses, increased utilities, medical expenses, in an amount to be determined at

trial.

         24.   As a result of Defendant’s discriminatory housing practices, Ms. Campau is

entitled to non-economic damages for emotional distress, embarrassment, humiliation,

and lost housing opportunity in an amount to be determined at trial.

         25.   Additionally, because of Defendants’ reckless disregard of Ms. Campau’s

civil rights, Ms. Campau is entitled to punitive damages in an amount to be determined

at trial, as well as attorney’s fees and costs.

           Count II: Violations of the Federal Fair Housing Act of 1968,
                                  42 U.S.C. § 3617
                  Threats, Coercion, Intimidation, Interference

         26.   Plaintiff re-alleges paragraphs 1-19 as if fully set forth herein.

         27.   By threatening to evict Ms. Campau and telling Ms. Campau that an eviction

would make it hard for her to find another place to rent if she did not remove her Pride

flag, Defendants subjected Ms. Campau to coercion, intimidation and threats based on

sex. 42 U.S.C. § 3617, provides it is “unlawful to coerce, intimidate, threaten, or interfere

with any person in the exercise or enjoyment of, or on account of his having exercised or

enjoyed…any right granted or protected by section...3604” of the Fair Housing Act.




                                                  4
  Case 5:22-cv-05051-PKH Document 2               Filed 03/21/22 Page 5 of 12 PageID #: 8




         28.    As a result of Defendant’s discriminatory housing practices, Ms. Campau

incurred actual and economic damages from Defendants, moving expenses, increased

utilities, medical expenses, in an amount to be determined at trial.

         29.    As a result of Defendant’s discriminatory housing practices, Ms. Campau is

entitled to non-economic damages for emotional distress, embarrassment, humiliation,

and lost housing opportunity in an amount to be determined at trial.

         30.    Additionally, because of Defendants’ reckless disregard of Ms. Campau’s

civil rights, Ms. Campau is entitled to punitive damages in an amount to be determined

at trial, as well as attorney’s fees and costs.

               Count III: Violations of the Arkansas Fair Housing Act,
                         Ark. Code Ann. § 16-123-201, et seq.
               Terms and Conditions and Discriminatory Statements
                  Threats, Coercion, Intimidation, Interference

         31.    Plaintiff re-alleges paragraphs 1-19 as if fully set forth herein.

         32.    The Arkansas Fair Housing Act is substantially similar to the federal Fair

Housing Act. See Ark. Code Ann. § 16-123-203(b). Defendants violated Ark. Code Ann. §

16-123-206(b) for the same reasons that they violated 42 U.S.C. §§ 3604. See, supra, ¶¶

20-25.

         33.    The Arkansas Fair Housing Act provides that a person shall not threaten,

intimidate, or interfere with persons in the enjoyment of their dwelling because of the

race, color, national origin, sex, or familial status of such persons, or of visitors or

associates of such persons. Ark. Code Ann. § 16-123-206(c). Defendants violated Ark.

Code Ann. § 16-123-206(c) for the same reasons that they violated 42 U.S.C. §§ 3617. See,

supra, ¶¶ 26-27.




                                                  5
  Case 5:22-cv-05051-PKH Document 2            Filed 03/21/22 Page 6 of 12 PageID #: 9




       34.    Ms. Campau is entitled to compensatory and punitive damages for her

injuries (stated above in ¶¶ 28-30), as well as attorney’s fees and costs pursuant to Ark.

Code Ann. § 16-123-210.

             Count III: Breach of the Covenant of Quiet Enjoyment

       35.    Plaintiff re-alleges paragraphs 1-19 as if fully set forth herein.

       36.    Arkansas implies a covenant of quite enjoyment into every lease.

       37.    Defendants breached Ms. Campau’s right to quiet enjoyment of her home

and prevented her from fully enjoying her dwelling by requiring Plaintiff to remove her

pride flag related to her protected class but not requiring the removal of other flags, and

by telling her the need to remove the pride flag was to protect the neighbors.

       38.    Ms. Campau requests compensatory and punitive damages stemming from

this breach, as well as attorney’s fees and costs pursuant to Ark. Code Ann. § 16-123-210.

       39.    Ms. Campau requests a jury trial on all claims and damages alleged in her

Complaint.

       WHEREFORE, Plaintiff requests that this Court find that Separate Defendants,

Bert Morris, Sweetser Trust and Sweetser Property LP, violated the Fair Housing Act,

violated the Arkansas Fair Housing Act, and breached the covenant of quiet enjoyment;

and for all damages related to these claims, including attorney’s fees and costs pursuant

to U.S.C. § 3613(c), and all other just and proper relief.




                                              6
Case 5:22-cv-05051-PKH Document 2   Filed 03/21/22 Page 7 of 12 PageID #: 10




                                Respectfully submitted,

                                Sarah Campau, Plaintiff



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                                    7
Case 5:22-cv-05051-PKH Document 2   Filed 03/21/22 Page 8 of 12 PageID #: 11




                                                             EXHIBIT 1
Case 5:22-cv-05051-PKH Document 2   Filed 03/21/22 Page 9 of 12 PageID #: 12
Case 5:22-cv-05051-PKH Document 2   Filed 03/21/22 Page 10 of 12 PageID #: 13
Case 5:22-cv-05051-PKH Document 2   Filed 03/21/22 Page 11 of 12 PageID #: 14
Case 5:22-cv-05051-PKH Document 2   Filed 03/21/22 Page 12 of 12 PageID #: 15
